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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND
                                  SOUTHERN DIVISION

  MARYLAND CHAPTER OF THE SIERRA
  CLUB, et al.,
                     Plaintiffs,
       v.
                                                       Case No.: 8:22-cv-02597-DKC
  FEDERAL HIGHWAY ADMINISTRATION,
  et al.,
                     Defendants.



                        ENTRY OF APPEARANCE IN A CIVIL CASE

TO THE CLERK OF THIS COURT AND ALL PARTIES OF RECORD:

         Please enter my appearance as special counsel in this case for Defendants Maryland

Department of Transportation and James F. Ports, Jr. I certify that I am admitted to practice in this

Court.


Dated: November 11, 2022                            Respectfully submitted,

                                                    BRIAN E. FROSH
                                                    Attorney General of Maryland

                                                                 /s/
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                                                    Maryland Department of
                                                    Transportation and James F. Ports, Jr.
